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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

     v.                                        Cr. No. 09-10166-MLW

SALVATORE F. DIMASI and
RICHARD W. MCDONOUGH,
     Defendants.


                                  ORDER

WOLF, D.J.                                             September 7, 2011

     It is hereby ORDERED that the sentencing hearing will begin at

1:00 p.m.,    rather   than 10:00 a.m.,     on September 8,   2011.   The

parties shall be prepared to address the numerous sentencing issues

and defendants' motions to be released pending appeal.           As there

are many matters to be argued by the parties and decided by the

court,    it is likely that the sentences will be imposed and the

motions decided on September 9,     2011.



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                                          UNITED S~ATES DISTRICT JUDGE
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